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UNITED STATES DISTRICT COURT —

for the Southern District of California

United States of America
V.

STEVEN GARCIA-ZARATE

 

Case No. 21-MI-03

 

FILED

 

IT IS ORDERED that the defendant’s release is subject to these conditions:

(1)

(2)

(3)
(4)

(5)
(6)

(7)

(8)

(9)

Defendant

 

PRETRIAL RELEASE ORDER SEP 8 2021

 

 

 

Mandatory Conditions CLERK, U.S. DISTRICT COURT

: . . OUTHERN DISTRIC
The defendant must not violate federal, state, or local law during the period of uelease, 7m 7 Oo ceutY

 

 

 

The defendant must cooperate in the collection of a DNA sample as authorized by 42 U.8.C."§ 14135a.-

Standard Conditions
(Each Standard Condition applies, unless stricken )

The defendant must appear in court as ordered and surrender as directed to serve any sentence.
The defendant must not possess or attempt to possess a firearm, destructive device, or other dangerous
weapon. The defendant must legally transfer all firearms, as directed by Pretrial Services.
The defendant must not use or possess a narcotic drug or other controlled substance without a lawful medical
prescription. The defendant must not use or possess marijuana under any circumstances.
The defendant must report to the U.S. Pretrial Services Office (telephone (619) 557-5738) on the day of the
initial court appearance or within 24 hours of the defendant’s release from custody, whichever is later.
Throughout this case, the defendant must report as directed by the Pretrial Services Office and follow all
directions of the Pretrial Services Office.
The defendant must advise the Court or the Pretrial Services Office in writing of: (1) the defendant’s current
residence address and phone number, when first reporting to Pretrial Services; and (2) any new contact
information, before making any change of residence or phone number.
The defendant must read this Pretrial Release Order and the “Advice of Penalties and Sanctions” form, or
have them read to the defendant in the defendant’s native language. The defendant must acknowledge the
defendant’s understanding of all the pretrial release conditions and the penalties and sanctions for any
violations, by signing the “Advice of Penalties and Sanctions” form.
Restrict travel to: Dd San Diego County 1 Imperial County C] State of California

1 Orange County and Los Angeles County —

X] CDCA (L.A., Orange, Riverside, San Bernardino, 8.L. O., Santa Barbara, Ventura)

] Do not enter Mexico x! Other Travel Restriction: E.D.N.Y.

© Travel may be expanded within the State of California, in PTS’s discretion

XX] Any travel outside the SDCA will be at defendant’s own expense.

Additional Conditions

 

(10) CI (a) The defendant is released on personal recognizance.

Xx] (b) The defendant must execute an appearance bond in. the amount of $ 10,000 that is:
‘(1 Unsecured. .
&] Secured, as set forth below. The Court finds that-an unsecured bond will not reasonably assure the
defendant’s appearance as required and/or will endanger the safety of another person or the community.
Security: &X] The co-signatures of _1__ financially responsible (andeetxed) adults or
OO A cash deposit with the Court of $
CI A trust deed to the United States on real property approved by a federal judge.
_] A cash bond and/or a bail bond by an approved, solvent corporate surety. A corporate
bail bond must cover all conditions of release, not just appearances.
O) Other:
Hearing: C) Surety examination C1 Nebbia hearing (bail source hearing)

 

 

(il) O 18 U.S.C. § 3142(d) hold until ; ifno detainer is lodged by then, these conditions take effect.
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(12) The defendant must:

x] (a)
(b)

(c)
o@

Li (e)
U (f)

Ol (g)

CD (h)
Di (i)
O qj)
LI (k)
oO a

U (m)
CO )

OO (0)
(p)

actively seek or continue full-time employment, or schooling, or a combination of both.
reside (®<l) with a family member, surety, or , or

(XI) at a residence approved by the Pretrial Services Office, including any ‘contract facility.
surrender any valid passport to the Pretrial Services Office and not obtain a passport or other
international travel document.
clear all warrants/FTAs and pay all fines within 90 days of release or as directed by the Pretrial
Services Office. .
submit to sychological/psychiatrie tt treatment at-Pretrial Services’ discretion.
submit to drug/alechol testing no more than _ times per month and/or outpatient substance abuse
therapy and counseling, as directed by the Pretrial Services Office. Testing may include urine
testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited
substance screening or testing. Pretrial Services need not notify the Court of test results attributed to
residual elimination.
take one drug test within 7 days of release and a second within 30 days of release. If both tests are
negative or only show residual elimination, no further testing is required. Otherwise, the testing
requirements in (12)(f) apply. .
not use alcohol at all.
not have a blood alcohol content (BAC) of .08% or more,
participate in and complete a program of inpatient substance abuse therapy and counseling, as
directed by the Pretrial Services Office.
avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the
investigation or prosecution, including:
remain in the custody of , who will supervise the defendant and
notify the Court immediately if the defendant violates any conditions of release.
not drive.a vehicle without a valid U.S. driver license and current insurance.

Pretrial Services may disclose confidential information to third parties for the purposes of securing
community resources.
Adam Walsh Act: See attached Addendum for additional conditions,

Other conditions: Defendant may travel between CA and NY for court appearances.

 

 

(13) ( All conditions previously set will remain the same.

Dated: September 7, 2021

  

Honorable Allison H. Goddard
United States Magistrate Judge
